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                                        United States District Court
                                       Western District of Washington




DEBRA BROWN                                                   Case Number: 2:21-cv-00700-TLF
an individual,

 Plaintiff(s)                                                 APPLICATION FOR LEAVE TO APPEAR
                                                              PRO HAC VICE
 V.

UNIVERSAL AUTO GROUP III, INC.,


 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Ignacio Javier Hiraldo                       hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Plaintiff Debra Brown.


The particular need for my appearance and participation is:

Plaintiff Brown is my client and to assist in her representation in this matter.




I, Ignacio Hiraldo                                 understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.


                                                                                Ignacio Hiraldo
Date: 7/30/2021                                    Signature of Applicant: s/


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Pro Hac Vice Attorney

Applicant's Name:                 Ignacio Hiraldo
Law Firm Name:                    IJH Law
Street Address 1:                 1200 Brickell Ave Suite 1950
Address Line 2:

City: Miami                                           State: FL             Zip:   33131
Phone Number w/ Area Code 7864964469                              Bar #   56031              State   FL
Primary E-mail Address: ijhiraldo@ijhlaw.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:



                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Ignacio Hiraldo                                          is unable to be present upon any date
assigned by the court.
                                                                     Kira M. Rubel
Date:   7/30/2021                 Signature of Local Counsel: s/

Local Counsel's Name:             Kira M. Rubel
Law Firm Name:                    The Harbor Law Group
Street Address 1:                 3615 Harborview Dr., Ste. C
Address Line 2:

City:   Gig Harbor                   WA        Zip: 98332
                                                      State:

Phone Number w/ Area Code (253)358-2215 Bar # 51691




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                               Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed   7/30/21              Signature s/
                                                      Ignacio Hiraldo
                                                      (Pro Hac Vice applicant name)




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